       Case 1:23-cv-22449-DPG Document 4 Entered on FLSD Docket 06/30/2023 Page 1 of 7

  AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                 for the
                                                     SouthernDistrict
                                                  __________ Districtof
                                                                      of__________
                                                                        Florida


                        Quanisha Barfield                   )
                                                            )
                                                            )
                                                            )
                           Plaintiff(s)                     )
                                                            )
                               v.                                            Civil Action No. 23-22449-CIV-GAYLES
                                                            )
Affirm, Inc.; Healthcare Revenue Recovery Group, LLC dba )
Account Resolution Services; TD Bank USA, N.A. Opportunity )
Financial, LLC; Equifax Information Services, LLC; Experian )
Information Solutions, Inc.; and TransUnion, LLC            )
                          Defendant(s)                      )

                                                  SUMMONS IN A CIVIL ACTION

  To: (Defendant’s name and address) Affirm, Inc.
                                         c/o CT Corporation System
                                         1200 South Pine Island Rd.
                                         Plantation, FL 33324




            A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
  are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
  P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
  the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
  whose name and address are: Trescot Gear
                                         Mailing address:
                                         McCarthy Law PLC
                                         4250 N. Drinkwater Blvd. Ste. 320
                                         Scottsdale, AZ 85251


         If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


  Date:
               Jun 30, 2023                                                                          s/ J. Conway

                                                                                        Signature of Clerk or Deputy Clerk
        Case 1:23-cv-22449-DPG Document 4 Entered on FLSD Docket 06/30/2023 Page 2 of 7

   AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


                         Quanisha Barfield                  )
                                                            )
                                                            )
                                                            )
                           Plaintiff(s)                     )
                                                            )
                               v.                                             Civil Action No. 23-22449-CIV-GAYLES
                                                            )
Affirm, Inc.; Healthcare Revenue Recovery Group, LLC dba    )
Account Resolution Services; TD Bank USA, N.A. Opportunity )
Financial, LLC; Equifax Information Services, LLC; Experian )
Information Solutions, Inc.; and TransUnion, LLC            )
                          Defendant(s)                      )

                                                   SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address) Healthcare Revenue Recovery Group, LLC dba Account Resolution Services
                                          c/o Corporation Service Company
                                          1201 Hays Street
                                          Tallahassee, Fl 32301-2525




             A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are: Trescot Gear
                                          Mailing address:
                                          McCarthy Law PLC
                                          4250 N. Drinkwater Blvd. Ste. 320
                                          Scottsdale, AZ 85251


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   You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


   Date:
                Jun 30, 2023                                                                          s/ J. Conway

                                                                                         Signature of Clerk or Deputy Clerk
        Case 1:23-cv-22449-DPG Document 4 Entered on FLSD Docket 06/30/2023 Page 3 of 7

   AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


                         Quanisha Barfield                  )
                                                            )
                                                            )
                                                            )
                           Plaintiff(s)                     )
                                                            )
                               v.                                             Civil Action No. 23-22449-CIV-GAYLES
                                                            )
Affirm, Inc.; Healthcare Revenue Recovery Group, LLC dba    )
Account Resolution Services; TD Bank USA, N.A. Opportunity )
Financial, LLC; Equifax Information Services, LLC; Experian
                                                            )
Information Solutions, Inc.; and TransUnion, LLC
                                                            )
                          Defendant(s)                      )

                                                   SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address) Opportunity Financial, LLC
                                          c/o Cogency Globabl Inc.
                                          115 North Calhoun Street, Suite 4
                                          Tallahassee, FL 32301




             A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are: Trescot Gear
                                          Mailing address:
                                          McCarthy Law PLC
                                          4250 N. Drinkwater Blvd. Ste. 320
                                          Scottsdale, AZ 85251


          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


   Date:
                Jun 30, 2023                                                                          s/ J. Conway

                                                                                         Signature of Clerk or Deputy Clerk
         Case 1:23-cv-22449-DPG Document 4 Entered on FLSD Docket 06/30/2023 Page 4 of 7

    AO 440 (Rev. 06/12) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                          Quanisha Barfield                 )
                                                            )
                                                            )
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                            Plaintiff(s)                    )
                                                            )
                                v.                                             Civil Action No. 23-22449-CIV-GAYLES
                                                            )
Affirm, Inc.; Healthcare Revenue Recovery Group, LLC dba
                                                            )
Account Resolution Services; TD Bank USA, N.A. Opportunity
                                                            )
Financial, LLC; Equifax Information Services, LLC; Experian
                                                            )
Information Solutions, Inc.; and TransUnion, LLC            )
                           Defendant(s)                     )

                                                    SUMMONS IN A CIVIL ACTION

    To: (Defendant’s name and address) TD Bank USA, N.A.
                                           2035 Limestone Rd
                                           Wilmington, DE 19808




              A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
    whose name and address are: Trescot Gear
                                           Mailing address:
                                           McCarthy Law PLC
                                           4250 N. Drinkwater Blvd. Ste. 320
                                           Scottsdale, AZ 85251


           If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
    You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


    Date:
                 Jun 30, 2023                                                                          s/ J. Conway

                                                                                          Signature of Clerk or Deputy Clerk
         Case 1:23-cv-22449-DPG Document 4 Entered on FLSD Docket 06/30/2023 Page 5 of 7

    AO 440 (Rev. 06/12) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                       for the
                                                           SouthernDistrict
                                                        __________ Districtof
                                                                            of__________
                                                                              Florida


                          Quanisha Barfield                              )
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                                                                         )
                                Plaintiff(s)                             )
                                                                         )
                                    v.                                             Civil Action No. 23-22449-CIV-GAYLES
                                                                         )
Affirm, Inc.; Healthcare Revenue Recovery Group, LLC dba                 )
Account Resolution Services; TD Bank USA, N.A. Opportunity               )
Financial, LLC; Equifax Information Services, LLC; Experian
                                                                         )
Information Solutions, Inc.; and TransUnion, LLC
                                                                         )
                               Defendant(s)                              )

                                                        SUMMONS IN A CIVIL ACTION

    To: (Defendant’s name and address) Equifax Information Services LLC
                                               c/o Corporation Service Company
                                               1201 Hays St.
                                               Tallahassee, FL 32301




              A lawsuit has been filed against you.

             Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
    are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
    P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
    the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
    whose name and address are: Trescot Gear
                                               Mailing address:
                                               McCarthy Law PLC
                                               4250 N. Drinkwater Blvd. Ste. 320
                                               Scottsdale, AZ 85251


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    You also must file your answer or motion with the court.



                                                                                     CLERK OF COURT


    Date:
                 Jun 30, 2023                                                                              s/ J. Conway

                                                                                              Signature of Clerk or Deputy Clerk
        Case 1:23-cv-22449-DPG Document 4 Entered on FLSD Docket 06/30/2023 Page 6 of 7

   AO 440 (Rev. 06/12) Summons in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                      SouthernDistrict
                                                   __________ Districtof
                                                                       of__________
                                                                         Florida


                         Quanisha Barfield                  )
                                                            )
                                                            )
                                                            )
                           Plaintiff(s)                     )
                                                            )
                               v.                                             Civil Action No. 23-22449-CIV-GAYLES
                                                            )
Affirm, Inc.; Healthcare Revenue Recovery Group, LLC dba )
Account Resolution Services; TD Bank USA, N.A. Opportunity )
Financial, LLC; Equifax Information Services, LLC; Experian )
Information Solutions, Inc.; and TransUnion, LLC            )
                          Defendant(s)                      )

                                                   SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address) Experian Information Solutions, Inc.
                                          c/o CT Corporation System
                                          1200 South Pine Island Rd.
                                          Plantation, FL 33324




             A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are: Trescot Gear
                                          Mailing address:
                                          McCarthy Law PLC
                                          4250 N. Drinkwater Blvd. Ste. 320
                                          Scottsdale, AZ 85251


          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


   Date:
                Jun 30, 2023                                                                          s/ J. Conway

                                                                                         Signature of Clerk or Deputy Clerk
          Case 1:23-cv-22449-DPG Document 4 Entered on FLSD Docket 06/30/2023 Page 7 of 7

     AO 440 (Rev. 06/12) Summons in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                    for the
                                                        SouthernDistrict
                                                     __________ Districtof
                                                                         of__________
                                                                           Florida


                           Quanisha Barfield                )
                                                            )
                                                            )
                                                            )
                             Plaintiff(s)                   )
                                                            )
                                 v.                                             Civil Action No. 23-22449-CIV-GAYLES
                                                            )
Affirm, Inc.; Healthcare Revenue Recovery Group, LLC dba    )
Account Resolution Services; TD Bank USA, N.A. Opportunity )
Financial, LLC; Equifax Information Services, LLC; Experian )
Information Solutions, Inc.; and TransUnion, LLC            )
                            Defendant(s)                    )

                                                     SUMMONS IN A CIVIL ACTION

     To: (Defendant’s name and address) TransUnion, LLC
                                            c/o Corporation Service Company
                                            1201 Hays St.
                                            Tallahassee, FL 32301




               A lawsuit has been filed against you.

              Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
     are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
     P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
     the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
     whose name and address are: Trescot Gear
                                            Mailing address:
                                            McCarthy Law PLC
                                            4250 N. Drinkwater Blvd. Ste. 320
                                            Scottsdale, AZ 85251


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     You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


     Date:
                  Jun 30, 2023                                                                          s/ J. Conway

                                                                                           Signature of Clerk or Deputy Clerk
